
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on September 15, 1974 (302 So.2d 450) reversing the judgment of the Circuit Court of Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida, by its opinion and judgment filed May 5, 1977, 348 So.2d 287 and mandate now lodged in this court, quashed this court’s judgment with directions to reinstate the judgment of the trial court;
NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued in this cause on November 18, 1974 is withdrawn, the judgment of this court filed September 17, 1974 is vacated, the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court and the judgment of the circuit court is reinstated and affirmed. Costs allowed shall be taxed in the circuit court (Rule 3.16 b, Florida Appellate Rules).
